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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


    DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO MODIFY COURT’S
       ORDER CONCERNING THE UNSEALING OF CERTAIN DOCUMENTS
            Defendants BuzzFeed, Inc. and Ben Smith respectfully submit this Opposition to

  Plaintiffs’ Motion to Modify the Court’s Order Unsealing Certain Documents.

            Defendants object to the requested sealing and to the filing of this motion under

  seal. There has never been a finding of good cause to seal this information. In addition,

  Defendants note that these materials were discussed by the Court in the publicly-issued decision

  dated December 18, 2018. See Dkt 385.



  Dated: January 31, 2019                   Respectfully submitted,

                                            /s/ Katherine M. Bolger
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                                     /s/ Roy Black
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                                      CERTIFICATE OF SERVICE
           I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  was served via CM/ECF of all counsel of record on the 31st day of January, 2019.



                                                  By: /s/ Adam Lazier
                                                          Adam Lazier




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